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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

N.V.E., INC., CIVIL ACTION NO. 06-5455 (GEB) (ES)
Plaintiff,
Vv. MOTION DATE: November 1, 2010

JESUS J. PALMERONI a/k/a JOSEPH
PALMERONI, RONALD SUMICEK, SUNBELT ORAL ARGUMENT REQUESTED
MARKETING, ABC CORPORATIONS 1-10,
and JOHN DOES 1-10,

Defendants.
JESUS J. PALMERONI,

 

Third-Party Plaintiff,
Vv.

ROBERT OCCHIFINTO AND WALTER
ORCUTT,

Third-Party Defendants.

 

 

 

LEGAL MEMORANDUM IN OPPOSITION TO MOTION TO QUASH AND FOR A PROTECTIVE
ORDER FILED BY DEFENDANT JESUS PALMERONI AND IN SUPPORT OF PLAINTIFF’S
CROSS~MOTION FOR EXTENSION OF THE TIME PERIOD SUBJECT TO DISCOVERY
FROM JUNE 30, 2006 TO PRESENT

 

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PRELIMINARY STATEMENT

Once again defendant/third party plaintiff, Jesus
Palmeroni, has made application to the Court in an attempt to
block disclosure of records relating to one of his companies,
this time Global Marketing & Sales Group, LLC (“Global”). His
motion to guash is based upon the fact that Global was not
incorporated until some 5 months after he was terminated from
NVE. Global is described as “a full-service sales and marketing
consultancy” and according to his Declaration, “Global did not
have any involvement with the brokerage transactions which are
the subject of the pending action.” (Palmeroni Declaration at
Gi 3, 9)

Here is the connection: one of the entities that paid
kickbacks to National Retail Consulting Group (NRCG) - PMI
Global Marketing Corp. (“PMI”) - continued to pay them to
Palmeroni through Global after NRCG was shut down. Attached to
the Certification of Samuel J. Samaro as Exhibit C are copies of
checks totaling $90,000 that Global received from PMI between
2006 and 2009. Other records reveal that Palmeroni was selling,
both before and after his dismissal, NVE products to a company
called CB Distributors, Inc. (“CB”). While we do not yet know
if these were pirated products or stolen products, the numbers
are staggering: over $5,000,000 worth of fake or stolen goods

were purchased by CB from Palmeroni/Rosarbo companies. (See CB
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records attached as Exhibit G to Samaro Cert.) Sales to other
NVE distributors, Brand New Energy and A.M.S. Enterprises,
continued through the Court mandated cut-off of June 2006. (See
Bank of America documents for VAR, attached as Exhibit H to
Samaro Cert. }

Given this backdrop, Palmeroni’s temporal distinction
regarding Global is just another fiction. While Palmeroni would
have the Court believe that Global merely provided consulting
services, the checks show that this is just another lie. Not
only should NVE have access to the accounting records sought by
subpoena, but to Global’s bank records as well.

By way of cross-motion, we seek to extend the scope of the
relevant discovery period beyond the June 30, 2006 limitation
previously applied by the Court. The PMI records reflect
payments to Palmeroni through 2009 and bank records for multiple
distributors reflect sale of NVE products through the June 30,
2006 deadline set by the Court. Under these circumstances, NVE
should be allowed to conduct full discovery to determine the
full extent of the fraud, and not restricted to an end date of

June 30, 2006.
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STATEMENT OF FACTS

This is the 3°° motion to quash documents that has been
filed by Palmeroni on behalf of himself or on behalf of his
companies. Given the incriminating information that has been
produced so far within the parameters set by the Court, it is
easy to understand his continued fight to keep other records
hidden. To fully understand the nature of the fraudulent
activities undertaken by Palmeroni and the interplay of his
various corporate entities, a review of the documents produced
so far is required.

1. National Retail Consulting Group, Inc. (“NRCG”)

Lakeland Bank records for NRCG which was wholly owned by
Palmeroni reflect over $1.2 million dollars’ deposited into the
account by multiple N.V.E. brokers or distributors, including
not only defendant Sunbelt Marketing, but also PMI Global
Marketing Corp., its sister company, Profit Motivators, Inc.,
Brand New Energy and CB Distributors, Inc. as well as others.
Palmeroni has previously admitted that these monies were
“commission splits” although asserting that they were authorized
by NVE. (See Declaration of Jesus Joseph Palmeroni, dated April
28, 2010, 4% 5, 6, 7, attached as Exhibit A to the Certification
of Samuel J. Samaro, Esq. (“Samaro Cert.”)) Ronald Sumick has

also described the monies paid by his company, Sunbelt to NRCG

 

> We would be glad to provide the Court with copies of the various bank
records, should the Court desire.
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as commission splits as well. (See Deposition of Ronald Sumicek,
May 11, 2010, T109:10-17; T122:16-23; T128:16-23; T1I77:5-
T178:15; T200:18-T201:2, attached as Exhibit B to Samaro Cert.)

Attached to the Certification of Samuel J. Samaro, Esq. are
records secured from PMI Global Marketing (“PMI”) and Profit
Motivators, two related brokers for NVE products. (See
documents bearing Bates Nos. NVE-PMI Global-0001 to NVE-PMI
Global-0077, attached as Exhibit C to Samaro Cert.; see also
documents bearing Bates Nos. NVE-Profit Mot.-0001 to NVE-Profit
Mot.-0047, attached as Exhibit D to Samaro Cert.) These records
reflect total payments to NRCG of $374,036.10 by PMI and
$278,612.79 by Profit Motivators from 2001 to 2006. (See
document bearing Bates No. NVE-PMI Global-0001, attached as
Exhibit C to Samaro Cert.) Early PMI checks contain memos that
the payments represented 1% of commissions earned from NVE on
their CVS, Navajo, and Wal-Mart accounts and confirm Palmeroni’s
successful scheme to get kick-backs from multiple brokers. (See
documents bearing Bates Nos. NVE-PMI Global-0067; 0069; 0070;
OO71L; 0072; 0073; 0074; 0075; 0076; and 0077, attached as
Exhibit C to Samaro Cert.)
2. Global Marketing & Sales Group, LLC

Records from PMI/Profit Motivators also reflect continuing
payments by PMI to Global from 2006-2009. (See documents

bearing Bates Nos. NVE-PMI Global-0001 to NVE-PMI Global--0036,
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attached as Exhibit C to Samaro Cert.) The pay-offs to
Palmeroni were not completed until 10/26/09 and from these two
related entities totaled $742,648.89. (See document bearing
Bates No. NVE-PMI Global-0001, attached as Exhibit C to Samaro
Cert.)

Palmeroni describes Global as a legitimate company
providing sales and marketing expertise, a claim that would be
hard to dispute without access to its records. More to the
point, that description would never explain why money was paid
by PMI because that is precisely what PMI did for NVE.
PMI/Profit Motivators are brokers of NVE’s products and have
been since 2000. That means that they have relationships with
companies like Wal-Mart and CVS and are successful in getting
NVE’s products placed in those retail establishments. (See
Certification of Erling Jensen, attached as Exhibit E to Samaro
Cert.) There is simply no conceivable way that Palmeroni and
Global would have expertise to sell to PMI that would justify
payments of $90,000.00.

3. American Wholesale Distribution, VAR Consulting,
Smart World, Inc.

 

Bank of America records for American Wholesale Distribution,
Inc. reflect almost $8,000,000.00 in deposits from multiple NVE
brokers, distributors or customers from 2002 until the account

was closed on January 17, 2006. (See document bearing Bates No.
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BoA-AWD-O001, attached as Exhibit F to Samaro Cert.) CB
Distributors, Inc., a long time distributor of NVE products and a
subject of the Sunbelt allegations, was the largest single

customer of AWD, accounting for over $5 million dollars of its

deposits. CB has produced documents, including purchase orders,
related to its purchases from AWD, Smart World, Inc. (another
Palmeroni/Rosarbo company) and VAR Consulting. (See CB Documents

bearing Bates Nos. NVE-CB Dist.-0001 to NVE-CB Dist.-0031,
attached as Exhibit G to Samaro Cert.) These documents confirm
that these Palmeroni entities were somehow converting NVE
products to their own use and selling NVE or NVE branded products
directly to NVE customers, both while employed by NVE and after.
CB’s documents reflect payments made to AWD through 4/18/06 and
to VAR through that date as well. Bank of America records for
VAR indicate payments by two other NVE distributors, Brand New
Energy and A.M.S. Enterprises, continued through at least the end
of June 2006. (See documents bearing Bates Nos. NVE-CB Dist.-0029
to NVE-CB Dist.-0031, attached as Exhibit G to Samaro Cert.; see
also, documents bearing Bates Nos. BoA-VAR-086; 098; 109; 127;
129; 131 and 138, attached as Exhibit H to Samaro Cert.) While
it is clear that the illicit sale of NVE products continued after
Palmeroni’s termination, what is not clear is how long these
sales continued since the Court has restricted the inquiry to the

period ending June 30, 2006.
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Depending on the source for the illicit NVE products sold
by the various Palmeroni and Rosarbo entities, the sales may
have continued well beyond the June 26, 2006 date, as it is
clear that Palmeroni’s termination did not end his continuing
conversion and sale of NVE products.

Based upon the proofs to date that Palmeroni and his
entities continued to extract kick-backs from NVE brokers
through 2009 and that his entities were continuing to sell NVE
products through the current June 2006 discovery cut-off date,
we respectfully request that the Court extend the scope of

relevant discovery up to the present.

LEGAL ARGUMENT

I. Legal Standard for Discovery

Fed.R.Civ.P. 45(a) (2) authorizes “the court for the
district in which the production or inspection is to be made” to
issue a subpoena commanding production. It is well established
that “parties may obtain discovery regarding any matter, not
privileged, that is relevant to the claim or defense of any
party” and that “for good cause, the court may order discovery
of any matter relevant to the subject matter involved in the
action.” Fed.R.Civ.P. 26(b) (1). A subpoena may seek
information likely to lead to the discovery of information

relevant to the matters at issue in the case. Id. Rule 26
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construes relevancy broadly, as any information “reasonably
calculated to lead to the discovery of admissible evidence.” Id;
see also Morse/Diesel, Inc. v. Fidelity and Deposit Co. of
Maryland, 122 F.R.D. 447, 4479 (S.D.N.Y. 1988) (term “reasonably
calculated” in Rule 26(b) (1) means “any possibility” that the
information sought may be relevant) (quoting Fed.R.Civ.P.

26(b) (1)). In addition, permissible discovery extends beyond
evidence admissible at trial. Hickman v. Taylor, 329 U.S. 495,
507-08 (1947).

Courts will place limitations only “on discovery sought in
bad faith, to harass or oppress the party subject to it, when it
is irrelevant, or when the examination is on matters protected
by a recognized privilege.” In re Six Grand Jury Witnesses, 979
F.2d 939, 943 (2d Cir. 1992) (citing Hickman v. Taylor 329 U.S.
495, 507-08 (1947). Movant has failed to demonstrate a basis
for quashing NVE’s subpoena and evidence produced to date
supports an enlargement of the time frame for relevant discovery
beyond the June 30, 2006 deadline previously imposed by the
Court.

II. NVE is entitled to discovery of Global Marketing &
Sales Group, LLC’s income tax returns and other
financial records because the information sought is
relevant to the matters at issue in this case

Once again, Palmeroni has posited a right to privacy

governing the affairs of one of his companies and has accused
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NVE of “going on a ‘fishing expedition’ into the affairs of
Palmeroni and his business associates” (Palmeroni brief at p.7),
and once again, the entity at issue is clearly entangled with
the wrongful conduct alleged in this matter. Despite
Palmeroni’s eloquent recitation of the legitimate goals and
purposes of Global Marketing, records now show that Global
Marketing, like National Retail Consulting Group before it,
simply became the next Palmeroni vehicle for collection of kick-
backs and other illicit monies. The documents produced by PMI
Global Marketing reflecting continued kick-backs to Palmeroni
through 2009 - paid to Global Marketing & Sales Group, LLC once
the accounts for NRCG were closed down, are irrefutable.
Palmeroni argued first that the records of NRCG should be
kept private, then those of American Wholesale Distribution,
Inc. and VAR Consulting and now Global Marketing & Sales Group,
LLC. There simply is no “good cause” for shielding the records
of any of these entities when they directly relate to the RICO
claims asserted and to be asserted in this matter. Records of
NRCG included information identifying multiple commission kick-
back participants and also led to identification of massive
amounts of money moving through AWD and VAR Consulting. The
records of AWD and VAR led to identification of the entities
engaged in transactions with them, and ultimately to the records

of CB Distributors which confirm that AWD, VAR and SmartWorld,
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Inc., another Palmeroni company, were engaged in converting NVE
products to their own use and selling them directly to
customers.

PMI Global’s records confirm that Palmeroni used Global
Marketing & Sales Group, LLC as a repository for his illicit
gains. The accounting records sought to be shielded as well as
any bank records of Global Marketing will no doubt facilitate
identification of other entities and transactions relevant to
this RICO claim.

Under these circumstances, there simply is no basis to
quash the subpoena to the accountants regarding Global
Marketing’s records, nor for any protective order. This
information is being sought for a legitimate cause related to
this RICO claim.

As noted in NVE’s response to Palmeroni’s previous motions
to quash subpoenas, the decision in Conopco, Inc. v. Wein, 2007
Dist. LEXIS 53314 (S.D.N.Y. July 23, 2007) is instructive. The
Conopco Court found that “the money Wein either invests in or
receives from the alleged RICO conspiracy may be evidence of how
the enterprise operates, and the role Wein plays in the
enterprise.” Id. at *9. That reasoning has proven true in this
case, as successive records have yielded clearer and clearer

pictures of the scope of the illicit schemes.

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By his own declaration, Palmeroni has operated through at
least 5 separate companies (Palmeroni declaration at 7), all of
whom are implicated in some degree with the illicit transactions
at issue in this matter. Discovery into the affairs of all of
these entities is warranted in view of discovery to date.

III. NVE’s Cross-Motion to Extend the Scope of Discovery
beyond June 30, 2006 should be granted

As noted previously, Fed.R.Civ.P. 26(b) (1) allows for broad
discovery “regarding any nonprivileged matter that is relevant
to any party’s claim or defense...” and that “[f]or good cause,
the court may order discovery of any matter relevant to the
subject matter involved in the action.”

Initially the Court’s determination that discovery should
be limited temporally to the six-month period after Palmeroni’s
termination from NVE made sense. But, that was before receipt
of records establishing that 1) Palmeroni continued to get kick-
back monies from brokers long after that date, and 2) that
Palmeroni entities were selling and continued to sell illicitly
obtained NVE products directly to customers long after Palmeroni
was terminated. To date, we know that this activity continued
through the end of June 2006. Because of the time limitation
placed by the Court, we do not know how long it continued after

that.

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Given that Palmeroni’s activities did not taper off after
his termination from NVE, we respectfully request that the Court
expand the scope of the relevant discovery period to the
present, so that a full picture of how Palmeroni’s enterprises
operated and the concomitant full calculation of NVE’s losses

can be determined.

CONCLUSION

For the reasons set forth full above, we respectfully
request that the Court deny defendant/third party plaintiff,
Jesus Palmeroni’s Motion to Quash the subpoena for the
accounting records of his company Global Marketing & Sales
Group, LLC or for a protective order with regard to these
documents and that the Court grant NVE’s cross-motion to extend
the scope of relevant discovery beyond June 30, 2006 to the

present.

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Dated: October 12, 2010 By: s/ Ellen W. Smith
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SAMUEL J. SAMARO

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